92 F.3d 1193
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Anthony Wayne OLIVER, Plaintiff-Appellant,v.James GOMEZ, Director of Corrections California StatePrison;  K.W. Prunty, Warden;  Bobbie L. Reed,Ph.D.;  Jacqueline Clarke;  P.D.Washington, Defendants-Appellees.
    No. 95-55590.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 29, 1996.*Decided Aug. 5, 1996.
    
      Before:  HUG, Chief Judge, SCHROEDER and TASHIMA, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Anthony Wayne Oliver, a California state prisoner, appeals pro se the district court's summary judgment in favor of defendant prison officials in Oliver's 42 U.S.C. § 1983 action.  We have jurisdiction pursuant to 28 U.S.C. § 1291.  After a de novo review of the record,  see Jesinger v. Nevada Fed.  Credit Union, 24 F.3d 1127, 1130 (9th Cir.1994), we affirm for the reasons stated in the district court's order filed April 3, 1995.
    
    AFFIRMED.1
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         Because of our disposition of this appeal, we do not consider the applicability, if any, of the Prison Litigation Reform Act, Pub.L. No. 104-134, 110 Stat. 1321 (1996), to this appeal
      
    
    